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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


Civil Action No. __1:25-cv-00425 STV

TINA M. PETERS,
          Applicant,

 v.

JOHN FEYEN, in his official capacity
    as Sheriff of Larimer County, Colorado,
          Respondent,

        and

PHILIP J. WEISER, in his official capacity
     as Attorney General of the State of Colorado,
           Additional Respondent.

      __________________________________________________________________

      OBJECTION TO RESPONDENTS’ MOTION FOR EXTENSION OF TIME


       Applicant Tina Peters, through counsel, objects to the Motion of Attorney General

Philip J. Weiser for an extension of time to file a Pre-Answer Response. Ms. Peters, an ailing,

69-year-old, who is appealing her convictions for non-violent offenses allegedly committed

while she was serving as the elected Clerk and Recorder of Mesa County, has been subjected to

retaliatory treatment while incarcerated by officials of Larimer County and the State of

Colorado. As described in the attached Declaration of Linda Good (Exhibit 1) and Ms. Peters’

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pastor Dennis Hoshiko (Exhibit 2), in Ms. Peters’ four and one-half months of incarceration –

itself an unlawful travesty – she has been repeatedly strip-searched, harassed, demeaned, and

deprived of sleep by being housed in facilities with lights on round-the-clock. The Attorney

General of Colorado, instead of acting to rectify such outrages, treats Ms. Peters’ Application

for a Writ of Habeas Corpus as just another ho-hum matter backed-up on the docket, and asks

this Court to double the already generous time set by the Court for his response– and so

prolong Ms. Peters’ subjection to such treatment – because the attorney he assigned to this

case is busy.

       The Attorney General employs more lawyers than any law firm in Colorado. In August

of 2021, Mr. Weiser assigned two experienced trial deputies to investigate and prosecute Ms.

Peters as deputy district attorneys of Mesa County. The two assistant attorneys general stayed

on the case for 37 months, tried the case for the prosecution, and remained counsel of record

through sentencing. How can it be that the largest law firm in Colorado, which assigned two

of its best lawyers to convict Ms. Peters, has only one lawyer who can respond to this Court’s

order to file a pre-answer response, and that lawyer needs an additional 21 days to comply?

       The pending habeas corpus application presents a straightforward question that requires

no extensive research and drafting: can the State justify the denial of bond pending appeal on

the basis of speech protected by the First Amendment which does not threaten anyone? There

is no legitimate reason for prolonging that decision, which the State can readily address


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without an extension. Moreover, the issues to be addressed in the pre-answer response

themselves pose simple, threshold questions. The first is whether the Application was timely

filed within the one-year statute of limitations. The application was filed four months after the

deprivation of Ms. Peters’ constitutional rights, well within the one-year period.

       Second, has Ms. Peters exhausted state court remedies under 28 U.S.C. § 2254(b)(1)(A)?

This is equally simple. Ms. Peters applied for bond pending appeal in the state district court,

and the district court denied bond because of her public statements. She then applied for

bond pending appeal in the Colorado Court of Appeals, which denied her motion on

December 6, 2024, without stating a reason. She has no right to seek additional review of the

Court of Appeals decision. Colorado Appellate Rule 51.1 states that an applicant has

exhausted state remedies when the Court of Appeals denies relief and the time for petitioning

for review on certiorari has expired, which it has in this case.

       Third, does Ms. Peters’ Application for a Writ of Habeas Corpus present cognizable

claims under § 2254? This requires a yes or no answer and attachment of relevant portions of

the state-court record. Since the Attorney General still employs on his staff the two deputies

who prosecuted the case for 37 months, and who are intimately familiar with the trial court

record, the notion that a new attorney must now learn the record from scratch to adequately

present the Attorney General’s position is not credible, especially when the delay prolongs the

mistreatment of Ms. Peters. By any reasonable measure, the 21 days granted by the Court’s


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Order for the Attorney General to respond is more than sufficient time to comply.

       With each day that passes, Ms. Peters is subjected to an unconstitutional incarceration

engineered to punish her for exercising her First Amendment rights. Application for Writ of

Habeas Corpus at 12-17. And this is not simply a matter of an unconstitutional deprivation of

her freedom – as bad as that is – but entails an unjustifiable physical and psychological abuse

that should not be, and cannot be, tolerated in any jail or prison supposedly subject to the

principles of our Constitution.

       Today, this Court must move forward expeditiously to adjudicate Ms. Peters’ claim for

release while her appeal is pending. Drawing out that adjudication in these circumstances by

doubling the time for the Attorney General to respond to Ms. Peters is unwarranted and

offensive to basic notions of justice.

       WHEREFORE, Ms. Peters prays that the Court deny Respondents’ request for an

extension of time.

       Respectfully submitted February 21, 2025.

                                                         s/John Case
                                                    John Case
                                                    John Case, P.C.
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                                CERTIFICATE OF SERVICE
       I hereby certify that on February 21, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will cause an electronic copy of same to
be served on opposing counsel via the email addresses that opposing counsel has registered
with the Court’s ECF system.

                                                              s/ Linda Good




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